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 8
 9
                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
12   VICTORIA JI,                        )   Case No. 2:21-cv-08718-PA-E
                                         )
13                 Plaintiff,            )   [Assigned to Hon. Percy Anderson]
14                                       )
     v.
                                         )   [PROTECTIVE ORDER
15   JPMORGAN CHASE BANK,                )
16   NATIONAL ASSOCIATION,               )   Action filed: November 4, 2021
                                         )   Trial date: September 27, 2022
17                 Defendant.            )
                                         )
18                                       )
19                                       )
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                                                               PROTECTIVE ORDER
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                                      1           Plaintiff Victoria Ji (“Plaintiff”) and defendant JPMorgan Chase Bank, N.A.
                                      2   (“Chase”) (together, the “parties”) have agreed to be bound by the terms of this
                                      3   Protective Order (“Order”) in this action.
                                      4           The materials to be exchanged throughout the course of the litigation between
                                      5   the parties may contain personally identifiable information, trade secret or other
                                      6   confidential research, technical, cost, price, marketing or other commercial
                                      7   information, as is contemplated by Federal Rule of Civil Procedure 26(c)(1)(G). The
                                      8   purpose of this Order is to protect the confidentiality of such materials as much as
                                      9   practical during the litigation. THEREFORE:
                                     10                                      DEFINITIONS
                                     11           1.    The term “confidential information” will mean and include information
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                                     12   contained or disclosed in any materials, including documents, portions of documents,
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                                     13   answers to interrogatories, responses to requests for admissions, trial testimony,
                                     14   deposition testimony, and transcripts of trial testimony and depositions, including
                                     15   data, summaries, and compilations derived therefrom that is deemed to be
                                     16   confidential information by any party.
                                     17           2.    The term “materials” will include, but is not be limited to: documents;
                                     18   correspondence; memoranda; bulletins; blueprints; specifications; customer lists or
                                     19   other material that identify customers or potential customers; price lists or schedules
                                     20   or other matter identifying pricing; minutes; telegrams; letters; statements; cancelled
                                     21   checks; contracts; invoices; drafts; books of account; worksheets; notes of
                                     22   conversations; desk diaries; appointment books; expense accounts; recordings;
                                     23   photographs; motion pictures; compilations from which information can be obtained
                                     24   and translated into reasonably usable form through detection devices; sketches;
                                     25   drawings; notes (including laboratory notebooks and records); reports; instructions;
                                     26   disclosures; other writings; models and prototypes and other physical objects.
                                     27           3.    The term “counsel” will mean outside counsel of record, and other
                                     28   attorneys, paralegals, secretaries, and other support staff employed in the law firms
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                                                                                                          PROTECTIVE ORDER
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                                      1   identified below: Stroock & Stroock & Lavan LLP, counsel for Chase; and Loker
                                      2   Law, APC and Khosroabadi & Hill, APC, counsel for Plaintiff. “Counsel” also
                                      3   includes in-house attorneys for Chase.
                                      4                                    GENERAL RULES
                                      5           4.    Each party to this litigation that produces or discloses any materials,
                                      6   answers to interrogatories, responses to requests for admission, trial testimony,
                                      7   deposition testimony, and transcripts of trial testimony and depositions, or
                                      8   information that the producing party believes should be subject to this Protective
                                      9   Order may designate the same as “CONFIDENTIAL” or “CONFIDENTIAL - FOR
                                     10   COUNSEL ONLY.”
                                     11           a.    Designation as “CONFIDENTIAL”: Any party may designate
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                                     12   information as “CONFIDENTIAL” only if, in the good faith belief of such party and
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                                     13   its counsel, the unrestricted disclosure of such information could be potentially
                                     14   prejudicial to the business or operations of such party or otherwise contains
                                     15   confidential information.
                                     16           b.    Designation as “CONFIDENTIAL - FOR COUNSEL ONLY”: Any
                                     17   party may designate information as “CONFIDENTIAL - FOR COUNSEL ONLY”
                                     18   only if, in the good faith belief of such party and its counsel, the information is
                                     19   among that considered to be most sensitive by the party, including but not limited to
                                     20   trade secret or other confidential research, development, financial or other
                                     21   commercial information.
                                     22           5.    In the event the producing party elects to produce materials for
                                     23   inspection, no marking need be made by the producing party in advance of the initial
                                     24   inspection. For purposes of the initial inspection, all materials produced will be
                                     25   considered as “CONFIDENTIAL - FOR COUNSEL ONLY,” and must be treated as
                                     26   such pursuant to the terms of this Order. Thereafter, upon selection of specified
                                     27   materials for copying by the inspecting party, the producing party must, within a
                                     28   reasonable time prior to producing those materials to the inspecting party, mark the
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                                                                                                           PROTECTIVE ORDER
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                                      1   copies of those materials that contain confidential information with the appropriate
                                      2   confidentiality marking.
                                      3           6.    Whenever a deposition taken on behalf of any party involves a
                                      4   disclosure of confidential information of any party:
                                      5                 a.    the deposition or portions of the deposition must be designated as
                                      6                       containing confidential information subject to the provisions of
                                      7                       this Order; such designation must be made on the record
                                      8                       whenever possible, but a party may designate portions of
                                      9                       depositions as containing confidential information after
                                     10                       transcription of the proceedings; a party will have until fourteen
                                     11                       (14) days after receipt of the deposition transcript to inform the
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                                     12                       other party or parties to the action of the portions of the transcript
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                                     13                       to be designated “CONFIDENTIAL” or “CONFIDENTIAL -
                                     14                       FOR COUNSEL ONLY.”
                                     15                 b.    the disclosing party will have the right to exclude from attendance
                                     16                       at the deposition, during such time as the confidential information
                                     17                       is to be disclosed, any person other than the deponent, counsel
                                     18                       (including their staff and associates), the court reporter, and the
                                     19                       person(s) agreed upon pursuant to paragraph 8 below; and
                                     20                 c.    the originals of the deposition transcripts and all copies of the
                                     21                       deposition must bear the legend “CONFIDENTIAL” or
                                     22                       “CONFIDENTIAL - FOR COUNSEL ONLY,” as appropriate,
                                     23                       and the original or any copy ultimately presented to a court for
                                     24                       filing must not be filed unless it can be accomplished under seal,
                                     25                       identified as being subject to this Order, and protected from being
                                     26                       opened except by order of this Court.
                                     27           7.    All confidential information designated as “CONFIDENTIAL” or
                                     28   “CONFIDENTIAL FOR COUNSEL ONLY” must not be disclosed by the receiving
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                                                                                                           PROTECTIVE ORDER
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                                      1   party to anyone other than those persons designated within this order and must be
                                      2   handled in the manner set forth below and, in any event, must not be used for any
                                      3   purpose other than in connection with this litigation, unless and until such
                                      4   designation is removed either by agreement of the parties, or by order of the Court.
                                      5           8.    Information designated “CONFIDENTIAL - FOR COUNSEL ONLY”
                                      6   must be viewed only by counsel (as defined in paragraph 3) of the receiving party,
                                      7   and by independent experts under the conditions set forth in this Paragraph. The
                                      8   right of any independent expert to receive any confidential information will be
                                      9   subject to the advance approval of such expert by the producing party or by
                                     10   permission of the Court. The party seeking approval of an independent expert must
                                     11   provide the producing party with the name and curriculum vitae of the proposed
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                                     12   independent expert, and an executed copy of the form attached hereto as Exhibit A,
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                                     13   in advance of providing any confidential information of the producing party to the
                                     14   expert. Any objection by the producing party to an independent expert receiving
                                     15   confidential information must be made in writing within fourteen (14) days following
                                     16   receipt of the identification of the proposed expert. Confidential information may be
                                     17   disclosed to an independent expert if the fourteen (14) day period has passed and no
                                     18   objection has been made. The approval of independent experts must not be
                                     19   unreasonably withheld.
                                     20           9.    Information designated “confidential” must be viewed only by counsel
                                     21   (as defined in paragraph 3) of the receiving party, by independent experts (pursuant
                                     22   to the terms of paragraph 8), by court personnel, and by the additional individuals
                                     23   listed below, provided each such individual has read this Order in advance of
                                     24   disclosure and has agreed in writing (in the form attached hereto as Exhibit A) to be
                                     25   bound by its terms:
                                     26                 a)      Executives who are required to participate in policy decisions
                                     27                         with reference to this action;
                                     28
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                                                                                                           PROTECTIVE ORDER
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                                      1                 b)    Technical personnel of the parties with whom Counsel for the
                                      2                       parties find it necessary to consult, in the discretion of such
                                      3                       counsel, in preparation for trial of this action; and
                                      4                 c)    Stenographic and clerical employees associated with the
                                      5                       individuals identified above.
                                      6           10.   With respect to material designated “CONFIDENTIAL” or
                                      7   “CONFIDENTIAL –FOR COUNSEL ONLY,” any person indicated on the face of
                                      8   the document to be its originator, author or a recipient of a copy of the document,
                                      9   may be shown the same.
                                     10           11.   All information which has been designated as “CONFIDENTIAL” or
                                     11   “CONFIDENTIAL -FOR COUNSEL ONLY” by the producing or disclosing party,
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                                     12   and any and all reproductions of that information, must be retained in the custody of
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                                     13   the counsel for the receiving party identified in paragraph 3, except that independent
                                     14   experts authorized to view such information under the terms of this Order may retain
                                     15   custody of copies such as are necessary for their participation in this litigation.
                                     16           12.   Before any materials produced in discovery, answers to interrogatories,
                                     17   responses to requests for admissions, deposition transcripts, or other documents
                                     18   which are designated as confidential information are filed with the Court for any
                                     19   purpose, the party seeking to file such material must seek permission of the Court to
                                     20   file the material under seal in accordance with the Local Rules.
                                     21           13.   At any stage of these proceedings, any party may object to a designation
                                     22   of the materials as confidential information. The party objecting to confidentiality
                                     23   must notify, in writing, counsel for the designating party of the objected-to materials
                                     24   and the grounds for the objection. If the dispute is not resolved consensually
                                     25   between the parties within seven (7) days of receipt of such a notice of objections,
                                     26   the objecting party may move the Court for a ruling on the objection. The materials
                                     27   at issue must be treated as confidential information, as designated by the designating
                                     28
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                                                                                                           PROTECTIVE ORDER
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                                      1   party, until the Court has ruled on the objection or the matter has been otherwise
                                      2   resolved.
                                      3           14.   All confidential information must be held in confidence by those
                                      4   inspecting or receiving it, and must be used only for purposes of this action. Counsel
                                      5   for each party, and each person receiving confidential information must take
                                      6   reasonable precautions to prevent the unauthorized or inadvertent disclosure of such
                                      7   information. If confidential information is disclosed to any person other than a
                                      8   person authorized by this Order, the party responsible for the unauthorized disclosure
                                      9   must immediately bring all pertinent facts relating to the unauthorized disclosure to
                                     10   the attention of the other parties and, without prejudice to any rights and remedies of
                                     11   the other parties, make every effort to prevent further disclosure by the party and by
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                                     12   the person(s) receiving the unauthorized disclosure.
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                                     13           15.   No party will be responsible to another party for disclosure of
                                     14   confidential information under this Order if the information in question is not labeled
                                     15   or otherwise identified as such in accordance with this Order.
                                     16           16.   If a party, through inadvertence, produces any confidential information
                                     17   without labeling or marking or otherwise designating it as such in accordance with
                                     18   this Order, the designating party may give written notice to the receiving party that
                                     19   the document or thing produced is deemed confidential information, and that the
                                     20   document or thing produced should be treated as such in accordance with that
                                     21   designation under this Order. The receiving party must treat the materials as
                                     22   confidential, once the designating party so notifies the receiving party. If the
                                     23   receiving party has disclosed the materials before receiving the designation, the
                                     24   receiving party must notify the designating party in writing of each such disclosure.
                                     25   Counsel for the parties will agree on a mutually acceptable manner of labeling or
                                     26   marking the inadvertently produced materials as “CONFIDENTIAL” or
                                     27   “CONFIDENTIAL - FOR COUNSEL ONLY” - SUBJECT TO PROTECTIVE
                                     28   ORDER.
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                                                                                                          PROTECTIVE ORDER
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                                      1            17.   Nothing within this order will prejudice the right of any party to object
                                      2   to the production of any discovery material on the grounds that the material is
                                      3   protected as privileged or as attorney work product.
                                      4            18.   Nothing in this Order will bar counsel from rendering advice to their
                                      5   clients with respect to this litigation and, in the course thereof, relying upon any
                                      6   information designated as confidential information, provided that the contents of the
                                      7   information must not be disclosed.
                                      8            19.   This Order will be without prejudice to the right of any party to oppose
                                      9   production of any information for lack of relevance or any other ground other than
                                     10   the mere presence of confidential information. The existence of this Order must not
                                     11   be used by either party as a basis for discovery that is otherwise improper under the
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                                     12   Federal Rules of Civil Procedure.
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                                     13            20.   Nothing within this order will be construed to prevent disclosure of
                                     14   confidential information if such disclosure is required by law or by order of the
                                     15   Court.
                                     16            21.   Upon final termination of this action, including any and all appeals,
                                     17   counsel for each party must, upon request of the producing party, return all
                                     18   confidential information to the party that produced the information, including any
                                     19   copies, excerpts, and summaries of that information, or must destroy same at the
                                     20   option of the receiving party, and must purge all such information from all machine-
                                     21   readable media on which it resides. Notwithstanding the foregoing, counsel for each
                                     22   party may retain all pleadings, briefs, memoranda, motions, and other documents
                                     23   filed with the Court that refer to or incorporate confidential information, and will
                                     24   continue to be bound by this Order with respect to all such retained information.
                                     25   Further, attorney work product materials that contain confidential information need
                                     26   not be destroyed, but, if they are not destroyed, the person in possession of the
                                     27   attorney work product will continue to be bound by this Order with respect to all
                                     28   such retained information.
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                                                                                                           PROTECTIVE ORDER
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                                      1           22.   The restrictions and obligations set forth within this order will not apply
                                      2   to any information that: (a) the parties agree should not be designated confidential
                                      3   information; (b) the parties agree, or the Court rules, is already public knowledge;
                                      4   (c) the parties agree, or the Court rules, has become public knowledge other than as a
                                      5   result of disclosure by the receiving party, its employees, or its agents in violation of
                                      6   this Order; or (d) has come or will come into the receiving party’s legitimate
                                      7   knowledge independently of the production by the designating party. Prior
                                      8   knowledge must be established by pre-production documentation.
                                      9           23.   The restrictions and obligations within this order will not be deemed to
                                     10   prohibit discussions of any confidential information with anyone if that person
                                     11   already has or obtains legitimate possession of that information.
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                                     12           24.   Transmission by email or some other currently utilized method of
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                                     13   transmission is acceptable for all notification purposes within this Order.
                                     14           25.   This Order may be modified by agreement of the parties, subject to
                                     15   approval by the Court.
                                     16           26.   The Court may modify the terms and conditions of this Order for good
                                     17   cause, or in the interest of justice, or on its own order at any time in these
                                     18   proceedings. The parties prefer that the Court provide them with notice of the
                                     19   Court’s intent to modify the Order and the content of those modifications, prior to
                                     20   entry of such an order.
                                     21
                                     22           IT IS SO ORDERED.
                                     23
                                               May 31, 2022
                                     24
                                                                                                Percy Anderson
                                     25                                                    United States District Judge
                                     26
                                     27
                                     28
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                                                                                                            PROTECTIVE ORDER
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